793 F.2d 136
    CHOTIN TRANSPORTATION INC., Plaintiff-Appellant, Cross-Appellee,v.UNITED STATES of America, Defendant-Appellee, Cross-Appellant.
    Nos. 84-5652, 85-5138.
    United States Court of Appeals,Sixth Circuit.
    June 17, 1986.
    
      Before LIVELY, Chief Judge, ENGEL, KEITH, MERRITT, KENNEDY, MARTIN, JONES, CONTIE, KRUPANSKY, WELLFORD, MILBURN, GUY, NELSON, RYAN and BOGGS, Circuit Judges.
    
    ORDER
    
      1
      A majority of the Judges of this Court in regular active service have voted for rehearing of this case en banc.  Sixth Circuit Rule 14 provides as follows:
    
    
      2
      The effect of the granting of a hearing en banc shall be to vacate the previous opinion and judgment of this Court, to stay the mandate and to restore the case on the docket as a pending appeal.
    
    
      3
      Accordingly, it is ORDERED that the previous decision and judgment of this Court, 784 F.2d 206, is vacated, the mandate is stayed and this case is restored to the docket as a pending appeal.
    
    
      4
      The Clerk will direct the parties to file supplemental briefs and will schedule this case for oral argument as soon as practicable.
    
    